          THIS CASE HAS NOT BEEN SET FOR ORAL ARGUMENT

                UNITED STATES COURT OF APPEALS
                    FOR THE FOURTH CIRCUIT
                     _________________________
                             No. 24-4543
                         1:21-cr-00458-JKB-1
                     _________________________

UNITED STATES OF AMERICA,                    Appellee,

     v.

ELIAS COSTIANES, JR.,                        Appellant.


APPELLANT’S RESPONSE TO THE GOVERNMENT’S MOTION AT ECF
                 NO. 24 TO EXTEND TIME




MARCUSBONSIB, LLC                 /s/ Carolyn Stewart
/s/ Megan E. Coleman              Carolyn Stewart
Megan E. Coleman                  FL Bar 1025715
Bar # 17552                       Stewart Country Law PA
6411 Ivy Lane, Suite 116          1204 Swilley Rd.
Greenbelt, Maryland 20770         Plant City, FL 33567
(301) 441-3000                    (813) 659-5178
megancoleman@marcusbonsib.com     Carolstewart_esq@protonmail.com
        Appellant, ELIAS COSTIANES, JR., respectfully submits this Response in

support of the Government’s Motion at ECF NO. 24 to extend time for the replies

by the Appellant and Appellee to the Court’s February 27, 2025, Order until March

13, 2025. Given the ongoing discussions of the Government’s intended filings where

it already agreed that Mr. Costianes’ case falls under the Presidential Pardon, and

that he should immediately be released from incarceration, we require the additional

time.




March 6, 2025            Respectfully Submitted,

MARCUSBONSIB, LLC                            /s/ Carolyn Stewart
/s/ Megan E. Coleman                         Carolyn Stewart
Megan E. Coleman                             Appellant's Pro Bono Counsel
Bar # 17552                                  FL Bar 1025715
6411 Ivy Lane, Suite 116                     Stewart Country Law PA
Greenbelt, Maryland 20770                    1204 Swilley Rd.
(301) 441-3000                               Plant City, FL 33567
megancoleman@marcusbonsib.com                (813) 659-5178
                                             Carolstewart_esq@protonmail.com




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                      CERTIFICATE OF COMPLIANCE

         1. I hereby certify that this motion complies with the type-volume

limitation of Fed. R. App. P. 27(d)(2)(A) of the Federal Rules of Appellate

Procedure. As measured by the undersigned's word-processing system used to

prepare this motion, the Response contains 94 words.

        2. This document complies with the type style requirements of Fed. R. App.

P. 32(a)(6), because it has been prepared in a 14 point proportionally spaced roman-

style typeface (Times New Roman).

      March 6, 2025

                                                   /s/ Carolyn Stewart
                                                   Carolyn Stewart
                                                   Appellant's Counsel


                         CERTIFICATE OF SERVICE

             I hereby certify that on this 6th day of March 2025, I caused the

foregoing Appellant's’ Response to be served on Appellee by the Court’s electronic

filing system where the Appellee is registered.

      March 6, 2025

                                                   /s/ Carolyn Stewart
                                                   Carolyn Stewart
                                                   Appellant's Counsel




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